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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY

                                                          :
  In re:                                                  :
                                                          : Chapter 11
  Daryl Fred Heller,                                      :
                                                          : Case No. 25-11354 (JNP)
                                   Debtor.                :
                                                          :
                                                          :
  JERRY D. HOSTETTER,                                     :
                                                          :
                                   Plaintiff,             : Adv. Proc. No.: _________
  v.                                                      :
                                                          :
  DARYL FRED HELLER,                                      :
                                                          :
                                   Defendant.             :
                                                          :
                                                          :

                                                COMPLAINT

           AND NOW, comes Plaintiff Jerry D. Hostetter (“Plaintiff”), by and through his

 undersigned counsel, files this Complaint against Daryl Fred Heller (the “Debtor” or

 “Defendant”) to determine the dischargeability of certain debts owed by Debtor to the Plaintiff,

 and respectfully states as follows:

           1.     Debtor, Daryl Heller, is an adult individual and businessman who resides and

 conducts business in Lancaster County, Pennsylvania. Debtor is the CEO of Heller Capital

 Group, LLC, a limited liability company and the manager of Heller Investment Holdings, LLC.

 These entities maintain offices at 415 North Prince Street, Lancaster, PA 17603.

           2.     Plaintiff is an adult individual.

           3.     On February 10, 2025, Defendant filed a voluntary petition (the “Chapter 11

 Petition”) for relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy




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 Code”) in the United States District Court for the District of New Jersey (the “Court”).

           4.    Plaintiff is a creditor of the Debtor as reflected in duly filed proofs of claim filed

 in Debtor’s bankruptcy case.

                                   JURISDICTION AND VENUE

           5.    The preceding paragraphs are fully incorporated herein by reference as if set forth

 herein.

           6.    This is an adversary proceeding commenced pursuant to Rules 7001 and 7003 of

 the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) to determine the

 dischargeability of certain debts under Section 523(a) of the Bankruptcy Code, owed by

 Defendant to the Plaintiff as a result of Defendant’s conduct associated with solicitation of

 purported investments/loans, misappropriation of the Plaintiff’s property, and other willful and

 malicious conduct.

           7.    This is a core proceeding pursuant to 28 U.S.C. Section 157(b)(2)(I).

           8.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. Section 1334(b)

 and 28 U.S.C. Section 157.

           9.    Venue is proper in this Court pursuant to 28 U.S.C. Section 1409.

                                    FACTUAL BACKGROUND

           10.   The preceding paragraphs are incorporated herein by reference as if set forth

 herein.

           11.   Debtor is an individual and the chief executive officer of Heller Capital Group,

 LLC and Heller Investment Holdings (“Heller Capital” and “HIH”). Upon information and

 belief, Debtor, individually, or through Heller Capital and/or HIH is the controlling member of

 multiple business entities including: (1) Glorious Cannabis Co. Investment Holdings




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 (“Glorious”); (2) Pere; (3) Halo RS; (4) Prestige Investment Group, LLC; (5) HKMS; (6) Frank

 RE; (7) Innoventures Fund I; (8) Innoventures Fund II; (9) Provectus Management Services.

        12.      Plaintiff, because of and in reliance on Debtor’s fraudulent representations,

 provided investments in the amounts set forth below:

              a. Total investment amount: $1,308,798.00

                     i. Glorious: $489,215.00

                    ii. Pere: $182,613.00

                    iii. Halo RS: $168,087.00

                    iv. Prestige Investment Group: $210,380.00

                     v. HKMS: $196,887.00

                    vi. Frank RE: $33,274.00

                   vii. Innoventrues Fund I: $11,413.00

                   viii. Innoventures Fund II: $11,858.00

                    ix. Provectus Management: $5,071.00

        13.      It is believed and therefore averred that Debtor has unlawfully diverted funds

 from these entities to himself and the use of other entities under his ownership and/or control and

 has pledged the assets of these entities to secure debt obligations for the benefit of Debtor and his

 related businesses without the knowledge or consent of the investors in the foregoing businesses.

 This conduct has devalued the foregoing businesses and damaged Plaintiff’s investments.

        14.      It is believed and therefore averred that, at the time the investments were made by

 Plaintiff, Debtor failed to follow corporate formalities and was co-mingling the assets of the

 various entities without disclosure to Plaintiff.

        15.      The Debtor’s conduct ultimately resulted in the appointment of a receiver for




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 Glorious.

           16.   At the time the loans were made, Debtor and his related entities were under

 substantial financial pressure due to the unravelling of a Ponzi scheme involving Paramount

 Management Group, LLC, an entity owned by Heller Capital and controlled by Debtor.

           17.   At no point did Debtor disclose the financial circumstances of the businesses

 owned and controlled by Debtor and Heller Capital or that Debtor was operating a Ponzi scheme.

           18.   Funds procured via the Ponzi scheme were, on information and belief, used to

 finance the operations of Glorious.

           19.   Had Debtor disclosed any of the foregoing information or that the funds loaned by

 Plaintiff for the benefit of Glorious were to be used to attempt to prop up other collapsing

 businesses, Plaintiff would not have entered into the convertible debt transactions and would not

 have funded the loans.

           20.   Plaintiff reasonably relied on Debtor’s misrepresentations to his detriment and has

 suffered damages in the principal amount of $1,308,798.00 .

           21.   Debtor’s actions are unlawful, constitute fraud in the inducement and fraudulent

 misrepresentations and Debtor is liable to Plaintiff in the full amount invested plus ongoing

 interest.

                                               COUNT I

 Non-Dischargeability of Debts Pursuant to 11 U.S.C. Sections 523(a)(2)(A) and 523(a)(2)(B)

           22.   The preceding paragraphs are incorporated herein by reference as if set forth

 herein.

           23.   Plaintiff is a creditor of Debtor as reflected in the proof of claim filed in the

 Debtor’s bankruptcy case.




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           24.    Debtor is indebted to the Plaintiff for money obtained by false pretenses, false

 representations, and actual fraud.

           25.    Debtor represented that Plaintiff’s loaned funds would be provided to the

 aforementioned entities for the use of the entities as set forth above.

           26.    The representations were material to Plaintiff, who made the loans based on the

 Debtor’s representations.

           27.    These representations were false because Debtor (1) did not provide any of the

 loaned funds to the entities set forth above; and (2) was attempting to prop up an illegal Ponzi

 scheme and used Plaintiff’s funds for the benefit of Debtor and/or entities under his ownership

 and/or control other than the entities set forth above.

           28.    Moreover, at the time that Defendant made the representations, he knew they

 were false and intended to fraudulently induce Plaintiff to make the loans.

           29.    Plaintiff reasonably relied on those representations from Debtor.

           30.    As a direct and proximate result of Debtor’s representations, the Plaintiff has

 suffered substantial damages.

           31.    Debtor knew or should have known that the Plaintiff would reasonably rely on his

 misrepresentations and omissions.

           32.    The Plaintiff in fact, reasonably relied upon Debtor’s misrepresentations to his

 detriment and Debtor’s benefit.

           33.    Debtor is thus indebted to the Plaintiff for money Debtor obtained from the

 Plaintiff as a result of false pretenses, false representations, and actual fraud perpetrated by

 Debtor.

           WHEREFORE, Plaintiff respectfully requests that the Court enter judgment that the




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 debts owed by Debtor to the Plaintiff are not dischargeable, as well as for interest, costs of suit

 and attorneys’ fees as may be authorized by law or otherwise, and for any other relief that the

 Court deems just and proper.

                                                COUNT II

                 Non-Dischargeability of Debts Pursuant to 11 U.S.C. Section 523(a)(4)

           34.      The foregoing paragraphs are incorporated by reference as if set forth in full

 herein.

           35.      Debtor was entrusted with the loaned funds.

           36.      Despite this trust, Debtor, with the intent to defraud the Plaintiff, knowingly and

 intentionally converted the Plaintiff’s loans/investments for purposes other than represented.

           37.      Debtor acted with the intent to permanently deprive the Plaintiff of his

 investments.

           38.      As a direct and proximate result of Defendant’s embezzlement the Plaintiff has

 suffered damages, collectively, exceeding $1,308,798.00 plus ongoing interest.

           WHEREFORE, Plaintiff respectfully requests that the Court enter judgment that the

 debts owed by Debtor to the Plaintiff are not dischargeable, as well as for interest, costs of suit

 and attorneys’ fees as may be authorized by law or otherwise, and for any other relief that the

 Court deems just and proper.

                                             COUNT III
                 Non-Dischargeability of Debts Pursuant to 11 U.S.C. Section 523(a)(6)

           39.      The foregoing paragraphs are incorporated by reference as if set forth in full

 herein.

           40.      Debtor’s actions were willful and malicious.

           41.      Debtor’s actions caused harm to the property of the Plaintiff.



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           42.      As a direct and proximate result of Defendant’s embezzlement, the Plaintiff has

 suffered damages, collectively, exceeding $1,308,798.00 plus ongoing interest.

           WHEREFORE, Plaintiff respectfully requests that the Court enter judgment that the

 debts owed by Debtor to the Plaintiff are not dischargeable, as well as for interest, costs of suit

 and attorneys’ fees as may be authorized by law or otherwise, and for any other relief that the

 Court deems just and proper.

                                              COUNT IV
                 Non-Dischargeability of Debts Pursuant to 11 U.S.C. Section 523(a)(13)

           43.      The foregoing paragraphs are incorporated by reference as if set forth in full

 herein.

           44.      Upon information and belief, Debtor may be subject to criminal prosecution for

 his actions with regard to the Plaintiff and otherwise.

           45.      Upon information and belief, if Debtor is subject to criminal prosecution for his

 actions relating to the Plaintiff, he may be required to make payment to Plaintiff under an order

 of restitution issued under title 18 of the United States Code.

           WHEREFORE, Plaintiff respectfully request that the Court enter judgment that the

 debts owed by Debtor to the Plaintiff are not dischargeable, as well as for interest, costs of suit

 and attorneys’ fees as may be authorized by law or otherwise, and for any other relief that the

 Court deems just and proper.




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                                              CONCLUSION

        WHEREFORE, the Plaintiff herein respectfully requests that the Court enter judgment

 in his favor on the causes of action set forth above, and enter judgment providing, inter alia, that

 the debts detailed above, owed by Debtor to the Plaintiff, are non-dischargeable in the Debtor’s

 pending Chapter 11 case.

                                               Respectfully submitted,

                                               SAXTON & STUMP LLC




 Dated: May 16, 2025
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